










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-05-00288-CV





Sterling Truck Corporation and Ford Motor Company, Appellants


v.


Motor Vehicle Board of the Texas Department of Transportation and Metro
Ford Truck Sales, Inc., Appellees






DIRECT APPEAL FROM THE MOTOR VEHICLE BOARD
OF THE TEXAS DEPARTMENT OF TRANSPORTATION


&nbsp;
O R D E R
PER CURIAM
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants Sterling Truck Corporation and Ford Motor Company seek emergency
relief from the February 3, 2005 order from the Motor Vehicle Board.  We temporarily grant the
relief requested, stay enforcement of the February 3, 2005 order, and stay further action by the Motor
Vehicle Board on these proceedings.  These stays are effective until further order of this Court on
this issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees are requested to file responses to this motion for emergency relief by June
15, 2005.  If appellees elect not to file responses by that date, the temporary relief granted by this
order will persist for the duration of this appeal, absent further order of this Court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is ordered June 1, 2005.
&nbsp;
Before Chief Justice Law, Justices B. A. Smith and Pemberton
Do Not Publish


